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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS                                     FILED
                             SAN ANTONIO DIVISION
                                                                                          JUN 022025

                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                      WESTERN DI,1PJ OF TEXAS
Mark Anthony Ortega
                                                                                                   DEPUTY CLERK
                              Plaintiff,

DANIEL GILBERT FIELDS, NICHOLAS                   Case No. 5:24-cv-00440-OLG-HJB
FERNANDEZ, and STRATEGIC
FRANCHISE LEADS LLC, a New Jersey
Limited Liability Company
                          Defendants,



            REQUEST TO GRANT DEFENDANTS' MOTION TO DISMISS

Comes now Nicholas Fernandez and Johana Anton, defendants herein, and respectfully
request that this Honorable Court dismiss the above-entitled complaint, or alternatively,
remand the case for a show cause hearing. For the reasons set forth in the documents
         filed in support of this motion, good cause exists to grant this motion.
                                                         1/
                                                                      i       I
                    Respectfully submitted this          day of   /       /       V                 9-



                                                                  //.                      :        /
                                                              Nicholas Fernandez
                                Managing Member of Strategic-Franchise Leads LLC
                                                                  /


                                                                         Johana Anton
                                               Owner of Strategic Franchise Leads LLC
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                                Understanding of the Case

The Plaintiff Mark Anthony Ortega has alleged against Nicholas Fernandez, a partner
at Strategic Franchise Leads LLC and Daniel Gilbert Fields intentionally/ repeatedly
violated the Customer Protection Act       due the fact that he was on the National Do
Not Call Registry. In doing so it has caused the Plaintiff frustration, annoyance, and his
privacy invaded. While there are accurate depictions of what transpired between the
parties there are many allegations that are simply inaccurate, false, and simply
exaggerated.



                     Background of Strategic Franchise Leads

 Nicholas Fernandez partner at Strategic Franchise Leads former resident of 1116
 Woodmere Drive in Keyport New Jersey as highlighted in the Plaintiffs complaint is a
 current resident of 720 W Rockview ave in North Plainfield NJ 07063. Had been
working in the franchise industry for just under three years where he had built many
 relationships within the industry. He and the listed owner of Strategic Franchise
 "Johana Anton" as detailed in the Plaintiffs complaint were expecting a child together in
the fall of 2023. Giving their expectation of a child together Nicholas had decided to
utilize his relationships he had built in the franchise industry to create a business
surrounded around helping business professionals transition into business ownership
through franchise ownership. In doing so it would allow Nicholas to run the company
from the residence of 720 W Rockview Ave listed as the company's location in addition
to caring for their expecting child. Johana and Nicholas utilized Johana as the owner
while Nicholas remained as a silent partner to secure funding for anticipated startup
costs given Johana's preferred credit. Additionally given Johana's background in
accounting and bookkeeping naturally gave her a main role within the company. While
Defendant Nicholas ran the day to day operations leveraging relationships he had built
in the past throughout his time within the industry. While Strategic Franchise Leads LLC
is a new company we take the allegations made by Plaintiff Mr. Marc Anthony Ortega
very seriously as no one working at Strategic ever intentionally violated any of the
Plaintiff's allegations. This is this first and only allegations against made against
Strategic Franchise Leads, Defendant Nicholas Fernandez, and Defendant
 Johana Anton . Contrary to what the Plaintiffs claims of' intentional ill intent and
maliciousness".
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                     Date and Summary of the Incident

  On the afternoon of March 14,2024 Nicholas was reaching out to potential candidates
 that he had prospected through the platform Linkedin, a professional website that
  professionals utilize to advance their professional network and stay informed about
 trends throughout the globe. As mentioned previously in the Background of Strategic
 Franchising Leads, Strategic was a new company which naturally had multiple
 hatsiroles within the company for Defendant Nicholas Fernandez in running operations.
  In order to separate his roles he would utilize the alias Eric when speaking to potential
 candidates. When Defendant Nicholas Fernandez connected with the Plaintiff Mr.
 Ortega; he greeted Mr. Ortega identified as Eric and explained exactly what Strategic
 did in helping professional transition to business ownership through franchising. At no
 point in the conversation did Plaintiff Mr. Ortega reveal that he was on the DNC
 Registry, he was not interested, and he did not wish to be contacted. Defendant
 Nicholas Fernandez explained that given Plaintiff Mr. Ortega's background that
 Nicholas had researched via the Linkedin platform thought he would be a great fit for no
 cost, no obligation service of exploring franchise ownership. Contrary to what Plaintiff
 Mr. Ortega explains in his allegations of misrepresentation. Furthermore Plaintiff Mr.
 Ortega said he would be interested in learning more about franchising and wanted to
 know what the next steps would be. Given Plaintiff Mr. Ortega's seemingly high interest
 Eric explained that a certified Franchise Consultant would be reaching to him to
 schedule in more in depth conversation about some potential options that would be
 sensible in his area. The Plaintiff Mr. Ortega insisted on knowing exactly who would be
 reaching out so he would make sure he didn't miss the outreach. The Defendant
 Nicholas explained to the Plaintiff Mr. Ortega that it depended on which consultant
 deem based on his area logistically and what industries were of interest to Plaintiff Mr.
Ortega. The Plaintiff Mr. Ortega explained that his area of interest was "real estate and
anything that showed great potential in his area. Typically in speaking to potential
prospects they would initially be assinged a consultant however Defendant Nicholas
gave the name of" Dan Fields" as mentioned in Plaintiff Mr. Ortega complaint to adhere
to Plaintiff Mr. Ortega requested to know exactly who would be reaching. Even though
Plaintiff Mr. Ortega could have been paired with a number of Certified Franchise
Consultants that Strategic Franchise Leads had been networking with at the time.
Defendant Nicholas decided to give the name "Dan Fields" because he knew off the top
of his head Defendant Dan Fields was experienced, decorated, and flexible in working
with many people in educating about the Franchise Industry. The incident explained
by Plaintiff Mr. Ortega is simply untrue in many instances. Plaintiff Mr. Ortega claims
that he was reached out before by the company in which he never answered. No text
neither voicemails were ever left to Plaintiff Mr. Ortega by anyone from Strategic
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Franchise Leads. Plaintiff Mr. Ortega claims in the one call that was misrepresented he
was able to know the name of the company services provided and the consultant that
he would be working with all happened in one call that he had no interest in. To the
contrary Plaintiff Mr. Ortega requested and was persistant in Defendant Dan Fields
reaching out. At any point of Plaintiff Mr. Ortega conversation with the Defendant
Nicholas he indicated that he had been on the registry or lack of interest, he would have
never been referred to Defendant Dan Fields, all communication would have ceased.
Furthermore as described Texas Business and Commerce Code § 302.101 Strategic was not a
seller and was not working on behalf of any agents as claimed by Plaintiff Mr. Ortega that
Strategic was working under the direction of Defendant Dan Fields
Texas Business and Commerce Code § 302.10 I cause of action must be dismissed because
Ortega did not plausibly allege is a "seller" as contemplated by the stalute. ECF No. /8 at 10-1/.
§ 302.10 1 makes it a violation for "a seller" to "make a telephone solicitation.. . to a purchaser
located in this state unless the seller holds a registration certificate for the business location from
which the telephone solicitation is made." Tex. Bus. & Com. Code § 302.101. § 302.00 defines 1



a "seller" as "a person who makes a telephone solicitation on the person's own behalf." Id. §
302.001(5). A "telephone solicitation" is further defined as "a telephone call" made "to induce a
person to purchase, rent, claim, or receive an item." Id. § 302.00 1(7). The Code instructs courts
to apply the scheme liberally to protect persons "against false, misleading, or deceptive practices
in the telephone solicitation business." Id. § 302.003. Moreover, the statute places the burden of
proving an exemption on the party "claiming the exemption" in civil proceedings. Id. § 302.051.
Plaintiff Mr. Ortega claims that he was being sold a franchise opportunity which simply
was not the case. It was a "no cost, no obligation" service that was being provided for
Plaintiff Mr. Ortega or anyone in his network to learn more about the franchise industry.
The Code instructs courts to apply the scheme liberally to protect persons "against false,
misleading, or deceptive practices in the telephone solicitation business." None of which
incurred during this incident. Additionally Defendant Nicholas would have no reason to refer to
Plaintiff Mr. Ortega to Defendant Dan Fields if Plaintiff Mr. Ortega referenced being on the
registry and portrayed a lack of interest in learning more about the franchise industry, in doing
so it has damaged the relationship between Defendant Nicholas and Defendant Dan Fields ,and
the reputation of the Strategic Franchise Leads. Defendant Dan Fields had no one of knowing
that he was on the DNC registry, never instructed to make solicitations on his behalf.
Furthermore he himself called Plaintiff Mr. Ortega.

47 U.S.C. § 227(c) as argued by Ortega cause of action must be dismissed because
Ortega pleads connected on only one phone call and one follow up email that Ortega
himself requested. 4 ECF No. 18 at 7-8. Under § 227(c), "[a] person who has received
more than one telephone call within any 12-month period by or on behalf of the same
entity in violation of the regulations prescribed under this subsection may" bring an
action "in an appropriate court." 47 U.S.C. § 227(c)(5). After Defendant Dan Fields
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notified Defendant Nicholas Fernandez of Plaintiff Mr. Ortega's request to not be
contacted via email, he was never contacted until the current filings has transpired.

                               Motion For Dismissal

Given the misconstrued allegations of Plaintiff Mr. Ortega's claim that Strategic and/or
Defendant Nicholas Fernandez was acting as an agent of an entity in particular is
simply not true. Given his presence on a business networking platform he was
contacted to learn more about networking in the franchise industry. He was never
misled as explained Id. § 302.00 1(5). A "telephone solicitation" is further defined as "a
telephone call" made "to induce a person to purchase, rent, claim, or receive an item." Id. §
302.001(7). The Code instructs courts to apply the scheme liberally to protect persons "against
false, misleading, or deceptive practices in the telephone solicitation business." The Plaintiff Mr.
Ortega has pursued legal action in many similar cases, such as the Ortega v. Ditomasso and
Ortega V. Elite Living Realty LLC are just a couple of examples of where the Plaintiff has a
history of filing enhanced allegations on entities in order to receive financial gains. Based on
Plaintiff Mr. Ortega's history of filings that are easily obtained with a quick google search it can
easily be perceived that Plaintiff Mr. Ortega's filings are well orchestrated as when engaging
with entities, PlaintifTMr. Ortega encourages an additional outreach from the entity to later
claim annoyance and demand damages. Contrary to all Defendants listed in this filing have no
records of any filings against.

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entity in violation of the regulations prescribed under this subsection may" bring an
action "in an appropriate court." 47 U.S.C. § 227(c)(5). After Defendant Dan Fields
notified Defendant Nicholas Fernandez of Plaintiff Mr. Ortega's request to not be
contacted via email, he was never contacted until the current filings had transpired.

While it's not possible for the Plaintiff Mr.Ortegga to know the relationship between the
defendants listed in the filings to make unsubstantiated claims that Defendant Nicholas
was instructed or acting as an agent for Defendant Mr Dan Fields is simply untrue and
fabricated.

Strategic Franchise Leads LLC and its owners acknowledged that the TCPA was
constructed to prevent consumers from being misled. Plaintiff Mr Ortega fails to meet
the burden of proof that he was misled when in fact he was the one doing the
misleading in his conversation with Defendant Nicholas in fabricating his interest.
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